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                         UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF COLUMBIA
____________________________________
                                    )
PROJECT ON GOVERNMENT               )
OVERSIGHT, INC.                     )
1100 13th Street, NW                )
Suite 800                           )
Washington, DC 20005                )
                                    )
              Plaintiff,            )               Civil Action No.
                                    )
v.                                  )
                                    )
U.S. DOGE SERVICE,                  )
736 Jackson Place, N.W.             )
Washington, D.C. 20503              )
                                    )
              Defendant.            )
____________________________________)

                                         COMPLAINT


       1.      This is an action under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552,

and the Declaratory Judgment Act, 28 U.S.C. §§ 220 and 2202, for injunctive, declaratory, and

other appropriate relief. Plaintiff Project On Government Oversight, Inc. (“POGO”) challenges

the refusal of the U.S. DOGE Service (“USDS”) to process an expedited FOIA request POGO

filed with USDS for email communications, text messages, and messages sent on messaging

platforms sent or received by specified DOGE employees and containing specified terms and its

refusal to provide POGO with all non-exempt documents

       2.      This case seeks declaratory relief that USDS is in violation of the FOIA, 5 U.S.C.

§ 552(a)(6)(E)(i), by failing to process POGO’s expedited request for records and for injunctive

relief ordering USDS to process and release to POGO immediately the requested records.
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                                  JURISDICTION AND VENUE

       3.        This Court has subject matter jurisdiction over the parties pursuant to 5 U.S.C. §§

552(a)(4)(B) and 552(a)(6)(C)(i). This Court also has jurisdiction over this action pursuant to 28

U.S.C. § 1331.

       4.        Venue lies in this district under 5 U.S.C. § 552(a)(4)(B).

                                              PARTIES

       5.        Plaintiff POGO is a nonpartisan independent organization based in Washington,

D.C. and organized under section 501(c)(3) of the Internal Revenue Code. Founded in 1981,

POGO champions reforms to achieve a more effective, ethical, and accountable federal

government that safeguards constitutional principles. POGO’s investigators and journalists take

leads and information from insiders and other sources and verify the information through

investigations using the FOIA, interviews, and other fact-finding strategies. POGO’s

investigative work has been recognized by Members of Congress, executive branch officials, and

professional journalism organizations. For instance, in 2015, POGO won the Robert D.G. Lewis

Watchdog Award, the Society of Professional Journalists Washington, D.C. Professional

Chapter’s highest journalistic award, for reporting on the Department of Justice’s opaque system

for handling allegations of attorney misconduct within its ranks. In 2018, POGO won an award

from the Society for Advancing Business Editing & Writing for its investigative series

scrutinizing the government's oversight of offshore drilling. POGO extensively used records

obtained under the FOIA for this investigation.

       6.        The U.S. DOGE Service, which is a creation of executive order and exercises

substantial independent authority, is a federal agency within the meaning of the FOIA, 5 U.S.C. §




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552(f), and has possession, custody, and control of the records POGO seeks in this action.

                                STATUTORY BACKGROUND

       7.      The FOIA requires federal agencies, upon request, to make records “promptly

available to any person,” 5 U.S.C. § 552(a)(3)(A), unless one or more specific statutory

exemptions apply.

       8.      The agency must provide the public records when they are requested in order “to

ensure an informed citizenry, vital to the functioning democratic society.” NLRB v. Robbins Tire

& Rubber Co., 437 U.S. 214, 242 (1978).

       9.      For non-expedited requests an agency must make a determination on a FOIA

request within 20 business days and notify the requester of which of the requested records it will

release, which it will withhold, and why, and the requester's right to appeal the determination to

the agency head. 5 U. S.C. § 552(a)(6)(A)(i).

       10.     The FOIA also requires agencies to promulgate regulations that provide for

expedited processing of FOIA requests where the requester demonstrates a “compelling need” as

well as “other cases determined by the agency.” 5 U.S.C. § 552(a)(6)(E)(i). The FOIA defines

“compelling need” to include requests “made by a person primarily engaged in disseminating

information” where there is an “urgency to inform the public concerning actual or alleged

Federal Government activity.” Id. at § 552(a)(6)(E)(v)(II).

       11.     Agencies are required to make a determination on a request for expedition within

10 calendar days “after the date of the request.” 5 U.S.C. § 552(a)(6)(E)(ii)(I). DOJ regulations

mirror this requirement. 28 C.F.R. § 16.5(e)(4).




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       12.     Agency decisions to deny a request for expedition are subject to judicial review

“based on the record before the agency at the time of the determination.” 5 U.S.C. §

552(a)(6)(E)(iii).

       13.     For non-expedited requests, the 20-day deadline for an agency to make a

determination on a request begins on the earlier of: (l) the date “the request is first received by

the appropriate component of the agency” or (2) “ten days after the request is “first received by

any component of the agency that is designated in the agency’s regulations . . . to receive [FOIA]

requests.” 5 U.S.C. § 552(a)(6)(A)(ii).

       18.     If an agency does not make a determination on a non-expedited FOIA request by

the statutory deadline, the requester is deemed to have exhausted administrative remedies and may

immediately pursue judicial review. 5 U.S.C. §§ 552(a)(6)(C)(i), 552(a)(4)(B).

                                   FACTUAL BACKGROUND

       19.     Even prior to assuming office, President Donald J. Trump announced he was

forming a Department of Government Efficiency “to dismantle Government Bureaucracy, slash

excess regulations, cut wasteful expenditures, and restructure Federal Agencies.” CREW v.

DOGE, 2025 U.S. Dist. LEXIS 42869, *3 (cleaned up). He initially tapped Elon Musk and Vivek

Ramaswamy to head DOGE.

       20.     President Trump formalized that announcement on his first day in office with

Executive Order 14158, entitled “Establishing and Implementing the President’s ‘Department of

Government Efficiency.’” Hours after he issued the EO 14158, Ramaswamy bowed out leaving

DOGE headed solely by Musk.

       21.     Section one of EO 14158 states that its purpose is to “establish[] the Department

of Government Efficiency to implement the President’s DOGE Agenda, by modernizing Federal




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technology and software to maximize governmental efficiency and productivity.” Section three

renames the United States Digital Service as the United States DOGE Service (“USDS”)

“reorganized . . . with the Executive Office of the President (“EOP”).” CREW v. DOGE, U.S.

Dist. LEXIS 42869, *5. Section 3(b) of EO 14158 further establishes a USDS Administrator

reporting to the White House Chief of Staff and establishes the U.S. DOGE Service Temporary

Organization, (“USDSTO”) headed by the USDS Administrator and charged with “advancing the

President’s 18-month DOGE agenda,”

        22.     EO 14159 also directs each agency, in consultation with USDSTO, to establish a

DOGE team “within their respective Agencies” consisting of at least four employees, who may

include Special Government Employees. Agency heads are directed to coordinate the work of

their DOGE Team Lead with USDS. Section four directs the USDSTO Administrator to

“commence a Software Modernization initiative to improve the quality and efficiency of

government-wide software, network infrastructure, and information technology (IT) systems,”

working with agency heads. EO 14158, Sections 3(c) and 4(a).

        23.     These provisions mirror what Musk and Ramaswamy had promised in a

November 20, 2024 opinion piece in the Wall Street Journal. Specifically, “they declared their

intent to ‘advise DOGE at every step to pursue three major kinds of reform: regulatory

rescissions, administrative reductions, and cost savings.’” CREW v. DOGE, U.S. Dist. LEXIS

42869, *3 (citation omitted). The two further “revealed that, from its inception, a major objective

of the new department would be ‘mass head-count reductions across the federal bureaucracy.’”

Id. at *4 (citation omitted).

        24.     On February 11, 2025, Trump issued Executive Order 14210 that, in sections 1

and 3(b)(i), lays out DOGE’s role in “eliminating waste, bloat, and insularity” and its mandate to




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work with agency heads to create and implement hiring plans, including anointing DOGE with

the power to decide which vacancies should be filled. For new hires, the Order directs agencies

to consult with the DOGE Team Lead. Section 3(b)(ii) of the EO further directs agencies “not to

fill any vacancies for career appointments that the DOGE Team Lead assesses should not be

filled, unless the Agency Head determines the positions should be filled.” Section 3(f) of the EO

obligates the Administrator to “submit a report to the President regarding implementation of this

order, including a recommendation as to whether any of its provisions should be extended,

modified, or terminated.”

       25.     On February 3, 2025, the White House confirmed publicly that Musk was

officially joining the federal government as a special government employee and that he would

submit a financial disclosure report that would not be made public. Theodore Schleifer & Eric

Lipton, “Elon Musk’s Financial Disclosure Will Not Be Made Public,” New York Times, Feb. 11,

2025, https://www.nytimes.com/2025/02/11/us/politics/elon-musk-finances.html?smid=nytcore-

ios-share&referringSource=article.Share. According to public reporting, Musk received both a

government email address and an office. See, e.g., Francesca Chambers, “Trump makes DOGE

head Elon Musk a ‘special government employee’ amid accusations of a takeover, USA Today,

Feb. 3, 2025, https://www.usatoday.com/story/news/politics/2025/02/03/doge-elon-musk-special-

employee-federal-government/78185365007/. But the Administration has refused to

acknowledge his precise role, at times denying he is in charge of DOGE despite President

Trump’s assertions to the contrary. See Andrea Shalal & Nandita Bose, “Trump appears to

contradict White House, says Musk in charge of DOGE,” Reuters, Feb. 20, 2025,

https://www.reuters.com/world/us/trump-appearws-contradict-white-house-says-elon-musk-

charge-doge-2025-02-20/.




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       26.     Exercising power conferred on it by the President, USDS is implementing a

“broad[] agenda to gut the civilian workforce, assert power over the vast federal bureaucracy and

shrink it to levels unseen in at 20 years.” Jeff Stein, Elizabeth Dwoskin, Hannah Natanson &

Jonathan O’Connell, “In chaotic blitz, Musk’s core goals come into focus,” Washington Post,

Feb. 9, 2025, https://www.washingtonpost.com/business/2025/02/08/doge-musk-goals/.

       27.     According to public reporting, DOGE through USDS is “exercising significant

authority by directing agencies to implement various policies, superintending personnel

decisions purporting to close federal agencies, acquiring access to sensitive databases, and

threatening agency officials who fail to comply.” “Challenging DOGE,” Governing for Impact,

Feb. 2025, https://governingforimpact.org/wp-content/uploads/2025/02/Challenging-DOGE-

Primer-final.pdf.

       28.     Hundreds of thousands of federal employees and government contractors across

27 federal agencies have lost their jobs because of USDS’s actions. See Sara Dorn, “Trump’s

Great Rehiring: Over 26,000 Fired By DOGE Likely To Return – So Far,” Forbes, Apr. 4, 2025,

https://www.forbes.com/sites/saradorn/2025/04/04/trumps-great-rehiring-over-26000-fired-by-

doge-likely-to-return-so-far/.

       29.     With its actions USDS has demonstrated an almost unparalleled penchant for

secrecy, seeking to shield its actions from judicial review and public accountability. Its titular

head Elon Musk is “operating with a level of autonomy that almost no one can control.”

Jonathan Swan, Theodore Schleifer, Maggie Haberman, Kate Conger, Ryan Mac & Madeleine

Ngo, “Inside Musk’s Aggressive Incursion Into the Federal Government,” New York Times, Feb.

4, 2025, https://www.nytimes.com/2025/02/03/us/politics/musk-federal-government.html.

       30.     At the same time, USDS has run roughshod over record keeping requirements




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designed, in part, to bring greater transparency and accountability to the government. For

example, according to a recently filed lawsuit against the Office of Personnel Management, Jane

Does 1-2 v. OPM, Civil No. 25-00234 (D.D.C. Jan. 27, 2025), an Elon Musk employee working

with DOGE set up a new server at OPM that bypassed federal law and was intended for sending

government-wide emails. Billy Mitchell, “OPM calls to dismiss email server lawsuit, issues

missing privacy assessment,” Fedscoop, Feb. 5, 2025, https://fedscoop. com/opm-server-lawsuit-

motion-to-dismiss-elon-musk-doge/.

       31.     To implement its mission, USDS staff have gained access to a vast swath of

sensitive government data and records. For example, USDS now has access and the ability to

“delete, modify, or export the personal information of millions of federal workers and federal job

applicants.” Stein, et al., Washington Post, Feb. 9, 2025. DOGE is also seeking access to personal

taxpayer data from the IRS that “includes detailed financial information about every taxpayer,

business and nonprofit in the country[.]” Jacob Bogage & Jeff Stein, “Musk’s DOGE seeks

access to personal taxpayer data, raising alarm at IRS,” Washington Post, Feb. 16, 2025,

https://www.washingtonpost.com/business/2025/02/16/doge-irs-access-taxpayer-data/.

       32.     To date, based on how USDS has functioned, several courts have concluded

USDS is an agency subject to the FOIA. In CREW v. DOGE, U.S. Dist. LEXIS 42869, *34 the

court relied significantly on EO 14158, which it noted “appears to give USDS the authority to

implement the DOGE Agenda, not just to advise the President in doing so.” Id. From this the

court concluded DOGE is an agency wielding substantial independent authority. The court also

relied on “USDS’s actions to date [that] demonstrate its substantial authority over vast swathes of

the federal government.” U.S. Dist. LEXIS 42869, *38. Those actions include: (1) decimating

USAID, including placing nearly all of its employees on administrative leave (what Musk termed




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“feeding USAID into the wood chipper”), id. at *37; (2) eliminating 104 DEI-related contracts

with the federal government; and (3) terminating 89 contracts with the Department of Education.

Id. at *38. As Judge Cooper noted, “[d]oing any of those three things would appear to require

substantial independent authority; to do all three surely does.” Id. at *39.

       33.     Relying on comparable facts Judge Bates in Am. Fed’n Of Lab. & Congr. Of

Indus. Orgs. v. U.S. Dep’t of Labor, concluded that for purposes of the Economy Act USDS is an

agency. No. 25-0339 (D.D.C. Feb. 14, 2025), ECF No. 34. Among other things, “USDS is

coordinating teams across multiple agencies with the goal of reworking and reconfiguring

agency data, technology, and spending.” These activities “[are] not the stuff of mere advice and

assistance.” Id. at 7. In reaching this conclusion the Court compared the definition of agency in

the Economy Act to similar definitions of agency in the FOIA and Administrative Procedure

Act.

                                Plaintiff’s Expedited FOIA Request

       34.     On April 8, 2025, Plaintiff submitted via email a FOIA request to both U.S.

DOGE Service and OMB seeking all email communications, text messages, and messages on

messaging platforms from January 20, 2025 through the present sent or received by 34

designated individuals with doge.eop.gov email addresses and containing any of 17 listed key

terms. See Exhibit A. Only the handling of POGO’s request to USDS is challenged here.

       35.     POGO requested expedited processing of its FOIA request given the significant

public and press interest in DOGE, USDS, and USDSTO. As POGO explained, this press interest

stems significantly from how Elon Musk’s businesses are impacted by federal government

operations and the efforts of Musk and DOGE inside the federal government. This raises risks of




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conflicts of interest where Musk and DOGE could impact companies owned by Musk or

associated with other DOGE staff.

       36.       In justifying its request for expedition, POGO explained the urgency to inform the

public about actual or alleged government activity. Specifically, Musk and DOGE have fed data

from federal agencies into AI systems for analysis and looked for ways to replace federal

workers with AI. At the same time, Musk owns xAI, and artificial intelligence company, and has

promoted vehicles from his company, Tesla, while at a White House event. Further, Musk’s

SpaceX does business with the government, including the Defense Department and NASA, all

while Musk is serving as a special government employee.

       37.       POGO further explained that expedition is warranted because the requested

records would shed light on a matter of widespread and exceptional media interest raising

possible questions about the government’s integrity that affect public confidence, specifically the

potential for conflicts of interest regarding Musk and other DOGE employees.

       38.       POGO requested a fee waiver because the subject of its request concern the

operations of the federal government, and the disclosures will likely contribute to a better

understanding of relevant government procedures by POGO and the public in a significant way.

POGO also requested that it be treated as a member of the news media and accordingly not be

charged for search and review fees.

       39.       By email dated April 14, 2025, USDS advised POGO that it was declining

POGO’s FOIA request because, according to USDS, it is subject to the Presidential Records Act

and not subject to the FOIA. USDS provided no basis to administratively appeal that

determination.




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                             PLAINTIFF’S CLAIM FOR RELIEF

                                      CLAIM ONE
                       (Wrongful Withholding of Non-Exempt Records)

       40.     Plaintiff repeats and re-alleges paragraphs 1-39.

       41.     Plaintiff properly asked for agency records within the possession, custody and

control of USDS.

       42.     Defendant DOJ wrongfully withheld agency records requested by Plaintiff by

refusing to process POGO’s request and wrongfully withholding records responsive to that

request.

       43.     Plaintiff POGO is therefore entitled to injunctive and declaratory relief with

respect to the immediate processing and disclosure of the records requested in its April 8, 2025

FOIA request at no cost to Plaintiff.

                                          CLAIM TWO
                                  (Failure to Grant Expedition)

       44.     Plaintiff repeats and re-alleges paragraphs 1-43.

       45.     Plaintiff properly asked that USDS expedite the processing of Plaintiff’s April 8,

2025 FOIA request, which seeks agency records in the possession, custody and control of USDS,

based on its showing of the urgency to inform the public about an actual or alleged Federal

Government activity and that the request is made by a member of the media.

       46.     Defendant improperly refused to consider and grant Plaintiff’s request for

expedition.

       47.     Plaintiff has exhausted all applicable administrative remedies with respect to

defendant’s denial of Plaintiff’s request for expedition.




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        48.    Plaintiff is therefore entitled to injunctive and declaratory relief with respect to the

immediate and expedited processing and disclosure of the requested records.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that this Court:

        (1)    Order Defendant to immediately and fully process plaintiff’s expedited April 8,

2025 FOIA request and to disclose all non-exempt documents immediately and at no cost to

Plaintiff;

        (2)    Issue a declaration that Plaintiff is entitled to the immediate processing and

disclosure of the requested records at no cost to Plaintiff;

        (3)    Provide for expeditious proceedings in this action;

        (4)    Retain jurisdiction of the action to ensure no agency records are wrongfully

withheld;

        (5)    Award Plaintiff its costs and reasonable attorney’s fees in this action; and

        (6)    Grant such other relief as the Court may deem just and proper.

                                                       Respectfully submitted,

                                                       /s/Anne L. Weismann
                                                       Anne L. Weismann
                                                       (D.C. Bar No. 298190)
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                                                       Suite 640
                                                       Washington, DC 20015
                                                       Weismann.anne@gmail.com

Dated: April 28, 2025                                  Attorney for Plaintiff




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